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                               Exhibit 1
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   I.      QUALIFICATIONS

           I have worked in the residential mortgage industry for over twenty years in a variety of

   different roles, including as a loan officer, processor, underwriter, broker, and account executive

   on the origination side. On the secondary market side of the mortgage industry, I have worked as

   a due diligence underwriter and underwriting supervisor, a transaction manager of whole loan

   trades, and a servicing oversight manager. The types of loans I have personally originated or

   underwritten include: prime, Alt-A, and subprime loans; conventional, FHA, and VA loans;

   jumbo and conforming loans; and first liens, closed-end second mortgages, and home equity

   lines of credit.

           I graduated with a B.S. from the University of Arkansas, Fayetteville in 1993. Beyond

   my extensive work experience, my formal education in the mortgage industry includes a

   Mortgage Loan Originator Pre-license Course (approved by the Nationwide Mortgage Licensing

   System & Registry) and the Uniform State Test Prep Course, various multi-day conferences on

   underwriting and other mortgage industry related subjects, underwriting classes taught by

   mortgage insurance companies such as Mortgage Guaranty Insurance Corporation, and various

   training sessions on banking regulations, best practices, and fraud detection and prevention.

           I began my career in the mortgage industry in 1998 as a loan officer with First South

   Mortgage, a small originator in South Carolina. In 1999, I joined Emmco, where I worked as a

   frontline underwriter, making risk-based decisions on loans prior to closing, including the review

   of borrower applications, credit reports, income and asset documentation, preliminary title

   commitments, and property appraisals. This review included, among other things, calculating

   borrower income and the amount of assets needed to close and to be held in reserve by the

   borrower, and ensuring that the borrower’s employment and housing history were appropriately

   verified.


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             From 2000 until 2001, I worked for a division of GMAC as an in-house mortgage

   originator for two GMAC real estate offices, where I took home buyer applications, organized

   real estate closings, assisted with contract negotiations, created mortgage-related marketing

   materials for open houses, and led mortgage training sessions for large groups of real estate

   agents.

             From 2001 until 2002, I worked for US Bank as a senior loan officer where I oversaw the

   mortgage lending operations for two branches of the bank.

             In 2002, I founded a mortgage brokerage company, Madison Mortgage Services, LLC. I

   was the managing broker and oversaw all facets of the business, which originated mortgage

   loans and provided contract processing services for other lenders. My company was authorized

   by certain wholesale lenders to underwrite its own loans, and I served as the approving

   underwriter for all of those loans.

             I subsequently served as an account executive for two national wholesale mortgage

   lenders: Novastar Financial, Inc. from 2004 until 2005 and Mortgage Lenders Network USA,

   Inc. from 2005 until 2007. My responsibilities as an account executive at both companies

   involved research into loan products throughout the industry. In that role, I extensively reviewed

   underwriting guidelines, loan program matrices, and rate sheets, and applied my knowledge of

   the differences in product types to solicit business relationships with mortgage brokers and

   correspondents. My expertise was in properly pre-approving and pricing loans at the offices of

   the originating companies before packaging the loan applications and submitting them to a

   centralized operations center. I then worked as a liaison between the broker and the operations

   center to facilitate the advancement of the loan through the closing and funding processes.




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           In each of the aforementioned positions, in addition to developing broad experience in

   standard mortgage underwriting practices, I gained extensive knowledge of automated

   underwriting systems for both conventional and FHA/VA loans.

           In 2007, I joined Steel Mountain Capital Management, LLC (“SMCM”), in Lakewood,

   Colorado. I began as a Transaction Manager, performing and/or supervising due diligence, i.e.,

   re-underwriting, on loans for potential purchase by the company (including FHA loans) and was

   later promoted to Senior Vice President of Due Diligence. At SMCM, I supervised loan sales to

   other financial institutions, which involves preparing loan files and servicing records for

   purchase, answering questions about loans, and providing any additional documentation

   requested by the buyer.

           As both a buyer and seller of loans at SMCM, I assisted with the review of original

   collateral documents (i.e., note, security instrument, and title policy) to ensure proper chain of

   ownership of the loan in the intended lien position with properly documented endorsements of

   the note and assignments of the mortgage or deed of trust. I passed annual certification exams to

   become a signing officer of the Mortgage Electronic Registration System (“MERS”), a national

   electronic database that tracks changes in mortgage servicing rights and beneficial ownership

   interests in loans secured by residential real estate.

           While at SMCM, I created new policies and procedures for due diligence, fraud

   awareness, and compliance testing, and participated in the design of updates for the company’s

   underwriting software. I also conducted servicing oversight, which involved the development of

   exit strategies and loss mitigation for loans in SMCM’s portfolio. My knowledge of the servicing

   side of the industry includes reading payment histories, interpreting collection notes, initiating




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   title claims, monitoring loans through the bankruptcy and foreclosure processes, drafting

   modifications, and approving short sales based on analyses of the net present value of loans.

          In April 2014, I started my own consulting firm, Lakewood Mortgage Advisors, LLC

   (“Lakewood”). At Lakewood, I have provided expert analysis, expert testimony, and consulting

   services in the field of mortgage litigation support. As a consultant, I have worked on cases

   involving repurchase claims, title fraud, and residential mortgage-backed securities, and I have

   personally advised bank clients, law firms, testifying experts, and due diligence firms about

   various aspects of mortgage lending, including guideline applicability, document retrieval,

   underwriting practices, and regulatory compliance. My resume is attached as Appendix A.

          I have testified as an expert witness at deposition four times in the past four years. I have

   been deposed in the matter of Federal Home Loan Bank of Seattle v. Credit Suisse Securities

   (USA) LLC, f/k/a Credit Suisse First Boston LLC, et al., No. 09-246353-1 SEA (Sup. Ct.

   Wash.); in the matter of United States of America v. Wells Fargo Bank, N.A. and Kurt Lofrano,

   No. 1:12-cv-07527 (JMF) (JCF) (U.S. District Court, S.D.N.Y.); in the matter of Residential

   Funding Company, LLC and the ResCap Liquidating Trust v. BMO Harris Bank, N.A.,

   successor by merger to M&I Bank, FSB, No. 13-cv-3523 (PAM/HB) (U.S. District Court,

   District of MN); and in the matter of Clayton Services LLC v. Sun West Mortgage Company,

   Inc., No. 3:16-cv-00172 (MPS) (U.S. District Court, District of CT). I have not authored any

   publications within the preceding ten years.

   II.    NATURE OF ENGAGEMENT

          In connection with this engagement, I have been asked to provide a brief overview and

   relevant background information regarding the FHA program. In addition, I have been asked to

   review and respond to the allegations in the Second Amended Complaint related to the four

   sample loans cited by Plaintiff. To that end, I was tasked with providing an opinion regarding the


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   completeness and sufficiency of the documents submitted to HUD in support of those loans.

   Finally, I have been asked to analyze and address certain issues related to causation and the

   relationship between loan underwriting, loan defaults and loan performance.

             I am being compensated for my work in this lawsuit at my customary hourly rate of $600

   per hour. I also am being reimbursed for reasonable expenses. My fee is not contingent on the

   outcome of this case or on the substance of my opinion. The opinions expressed in this report are

   my own.

             In forming my opinions and preparing this report, I relied on the knowledge, training,

   experience, professional judgment, and expertise that I have developed during my twenty years

   working in the residential mortgage industry. A list of the materials which I considered in

   forming my opinions is attached hereto as Appendix B. My opinion is based upon the

   information available to me as of the date of this report, and I reserve the right to supplement my

   opinion to the extent any additional information becomes available to me or to respond to any

   additional opinions or arguments offered by the parties in this matter.

   III.      SUMMARY OF OPINIONS

             The Second Amended Complaint dated January 31, 2018 (“SAC”) alleges that from

   March, 2013 through March, 2015 (“Covered Period”) Carrington Mortgage Services, LLC

   (“Carrington”) and its employees “routinely, on a daily basis, approved loans for government

   insurance and refinancing that clearly did not meet the applicable underwriting requirements”

   and that thousands of FHA loans had “multiple, obvious violations of the applicable

   underwriting requirements.”1 The loan files, case binders, and other materials I reviewed related

   to this case do not support those claims. It is my opinion that Ms. Calderon mischaracterizes the

   nature and goals of the FHA program as a whole and has failed to thoroughly review a sufficient

   1
       SAC ¶ 6.


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   sample of loans originated by Carrington to prove anything other than isolated minor or

   immaterial underwriting mistakes that were likely inadvertent human errors.

           It is also my opinion that loans can default for a variety of reasons, many of which have

   no relationship to the original underwriting of the loan. When a loan defaults as a result of a

   borrower “life event,” such as death, divorce, or unemployment, that default cannot be attributed

   to any defect or error in underwriting. Similarly, changes in economic conditions post-

   origination can lead to borrower defaults that could not have been predicted by the original

   underwriter. Moreover, any connection between underwriting defects and loan defaults is highly

   dependent on the type of underwriting defect and the length of time the loan performed prior to

   defaulting.

           I have reviewed and considered the basis upon which Ms. Calderon alleges that the four

   loans referenced in the SAC were fraudulently approved. It is my opinion that these loans

   defaulted for reasons that are not related to any alleged underwriting errors, missing documents,

   or fraud.

   IV.     THE SPIRIT AND INTENT OF THE FHA PROGRAM

           “The Federal Housing Administration (FHA) is the Federal Government’s single largest

   program to extend access to homeownership to individuals and families who lack the savings,

   credit history, or income to qualify for a conventional mortgage.”2 FHA’s mission of providing

   mortgage insurance to borrowers, “many of whom would not otherwise qualify for loans,”3

   means that, in my opinion, the underwriting guidelines established by HUD for FHA loans are

   often driven by policy goals rather than solely by the type of risk-based guidelines that banks and

   private lenders create based around minimizing losses. For example, the FHA program typically

   2
     The Proposed HUD Budget for FY 2004 Before the S. Comm on Banking, Hous., & Urban Affairs, 108th Cong. 8
   (2003) (statement of Mel Martinez, Sec’y, United States Dep’t of Hous. & Urban Dev.).
   3
     Id. at 1.


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   allows only a 3.5 percent minimum cash investment requirement for purchase transaction loans

   and, even waives that minimal investment requirement by allowing gifts and down payment

   assistance programs to take the place of any actual contribution of the borrower’s own funds.

   Also, the FHA program has lower credit score requirements (as low as 500 with 10% down) and

   allows borrowers with no credit history reported to the major credit bureaus to obtain loans by

   providing alternative verification of credit worthiness.4 In contrast with most conventional

   mortgage guidelines, family members of the borrower who are not planning to occupy the

   subject property are allowed to co-sign FHA loans in order to provide additional income and/or

   assets for qualification purposes.

           FHA’s goal of providing access to homeownership to marginal borrowers is emphasized

   in various HUD Handbooks, including HUD Handbook 4000.4, which explains:

                    The Department’s mortgage insurance programs are designed to
                    serve the credit needs of those homebuyers not adequately served
                    by the private sector. Processing cases under the Direct
                    Endorsement program should not result in lesser consideration of
                    applications involving marginal locations, properties or credit
                    risks. The program provides mortgagees the necessary assurance of
                    endorsement since subjective underwriting determinations are
                    reviewed only after the mortgage has been endorsed.5

           In addition, numerous provisions of HUD Handbook 4155.1 reflect this same focus on

   marginal borrowers,6 a focus that is emphasized in the Foreword to the 4155.1, which declares:

                    While it is not FHA’s intent to insure mortgages that are likely to
                    result in default, regardless of the borrower's equity, lenders may
                    exercise some discretion in the underwriting of home mortgages
                    where the borrower’s financial and other circumstances are not
                    specifically addressed by this Handbook.


   4
     See HUD Handbook 4000.1.II.A.2.b. and HUD Handbook 4000.1.II.A.5.a.
   5
     HUD Handbook 4000.4, Rev-1 Chg-2, § 1-5.
   6
     See, e.g., HUD Handbook 4155.1, Rev-5, § 2-3 (“Neither the lack of credit history nor the borrower’s decision not
   to use credit may be used as a basis for rejecting the loan application.”); HUD Handbook 4155.1, Rev-5, § 2-7(B)
   (“We recognize that many low- and moderate-income families rely on part-time and seasonal income for day-to-day
   needs. Lenders must not restrict the consideration of such income sources in qualifying these borrowers.”).


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         Thus, I understand that the goal of the FHA program is to promote homeownership, and –

 so long as the underwriter exercises sound judgment and due diligence – an underwriter should

 use the flexibility of the FHA guidelines to meet this goal. Similarly, I understand that, in

 assessing eligibility, HUD focuses on material compliance with FHA program parameters, rather

 than on technical or procedural issues, by allowing lenders to resubmit documentation when a

 case binder is found lacking at initial submission for endorsement and also following Post-

 Endorsement Technical Reviews or other audits. Once a loan is endorsed, HUD cannot deny

 insurance claims, except in cases of fraud,7 and does not request indemnification from lenders for

 technical or immaterial issues. Eligibility instead involves assessing whether “the borrower has

 the ability and willingness to repay the mortgage debt,”8 in addition to determining if the

 property is sufficient as collateral.

         In the Covered Period, FHA loans were helping the recovery of the United States housing

 market after the historic housing crisis, having quadrupled the origination of single family FHA

 loans in the midst of the recession. In December of 2013, then Secretary of HUD, Shaun

 Donovan, wrote, “At the depths of the economic crisis, when financial institutions stopped

 lending, the FHA was forced to quickly step up to keep credit flowing,” and “[a]s independent

 economists have noted, if not for the agency, the housing market would have experienced a

 much steeper decline.”9 HUD’s Strategic Plan for 2014-2018 stated that “[o]ver time, FHA has

 experienced significant swings in its market share as it has stepped in to provide capital for




 7
   HUD Handbook 4000.4, Rev-1 Chg-2, § 1-5.
 8
   See, e.g., HUD Handbook 4155.1, Rev-5, § 2-3 (“Neither the lack of credit history nor the borrower’s decision not
 to use credit may be used as a basis for rejecting the loan application.”); HUD Handbook 4155.1, Rev-5, § 2-7(B)
 (“We recognize that many low- and moderate-income families rely on part-time and seasonal income for day-to-day
 needs. Lenders must not restrict the consideration of such income sources in qualifying these borrowers.”).
 9
   2013 U.S. Dep’t of Hous. & Urban Dev. Ann. Rep. to Cong. Fiscal Year 2013 Fin. Status Fed. Hous. Admin.
 Mutual Mortgage Ins. Fund 2.


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 qualified borrowers who would otherwise be shut out of the mortgage market.”10 Under the

 strategic objective of Credit Access, one stated goal of HUD is to “[e]valuate and align program

 policies with risk tolerance and mission to ensure we can help fulfill HUD’s mission of

 providing quality, affordable housing. This will be achieved by balancing access/affordability,

 market factors, and the Mutual Mortgage Insurance (MMI) Fund in setting price and credit

 policy.”11

            The mission of the FHA program historically, during the Covered Period, and today was

 and is to increase homeownership and to stabilize the housing market when needed. To mitigate

 the risk of losses to the government while still meeting its stated goals, HUD through the Office

 of Inspector General (OIG) performs audits on Direct Endorsement (“DE”) lenders (including

 Carrington) and administers consequences to lenders who fail to comply with the requirements

 of the FHA program. These audits identify specific loans with problems and may require lenders

 to develop and implement improved policies and procedures, provide additional employee

 training, indemnify HUD against future losses on loans with defects, and repay HUD for claims

 already paid, among other things. HUD’s audit and quality control programs for approved FHA

 lenders are extremely well designed to identify any instances of lenders regularly failing to

 comply with the applicable underwriting requirements of the FHA program. It is therefore

 unlikely that, undetected by all of HUD’s audits and quality control reviews, Carrington could

 have been originating thousands of loans that were significantly outside of the FHA program

 requirements. In my opinion, Carrington’s origination of a large number of FHA loans during

 the Covered Period likely helped provide the opportunity for homeownership to many




 10
      U.S. Dep’t of Hous. & Urban Dev., Strategic Plan 2014-2018 15 (2014).
 11
      Id. at 13.


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 underserved families, while at the same assisting with the recovery of the United States

 economy.

 V.      MS. CALDERON’S LOAN REVIEW METHODOLOGY

         Per the rules and agreements governing the relationship between a Direct Endorsement

 lender and HUD, loans are reviewed or audited and remedies are sought on a loan-by-loan basis

 and not through sampling or a selection of examples.12 It is my opinion that Ms. Calderon

 cannot claim that “thousands” of loans were “fraudulently approved” by Carrington and

 endorsed by HUD as FHA loans unless and until Ms. Calderon performs a thorough analysis of

 each loan she claims is materially defective.

         In the SAC, Ms. Calderon provides four examples of loans she alleges were “fraudulently

 approved.”13 Ms. Calderon does not explain how she chose the four loans she uses as examples,

 or how many total Carrington loan files she reviewed and determined that no underwriting

 defects were present. Based on my experience in the mortgage industry, there is no such thing as

 a zero-defect rate when a lender is originating a significant volume of loans. As of the date of

 this report, there are currently 776 loans at issue, which represent the loans funded during the

 Covered Period for which there was a subsequent claim for insurance. Thus, the fact that Ms.

 Calderon found four loans in a population of 776 that allegedly have underwriting or

 documentation flaws, is meaningless without knowing the total population of loans she reviewed.


 12
    Lender Insurance Guide For Mortgagee and HUD Staff, Revised May 1, 2013 at p. 53 indicates that audit results
 and remedies including indemnification are to be contemplated on a loan-by-loan basis, providing the lender the
 opportunity to rebut or cure alleged material defects. “When fraud, misrepresentation, or serious and material
 violations of HUD policies and procedures are uncovered during the course of these reviews, HUD notifies the
 Lender Insurance mortgagee that a preliminary assessment based on file documentation indicates that the loan
 contains material findings such that HUD is exposed to an unacceptable level of risk. HUD provides the Lender
 Insurance mortgagee an opportunity to present additional documentation to address the review findings. If the
 Lender Insurance mortgagee is unable to respond (or fails to respond) to the material findings, HUD will demand
 that the Lender Insurance mortgagee indemnify HUD against any possible financial loss stemming from that loan
 pursuant to 24 CFR § 203.255(g).” (emphasis added). U.S. Dep’t of Hous. & Urban Dev., Lender Insurance Guide
 for Mortgagee and HUD Staff 53(2013).
 13
    SAC ¶ 6.


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 If she reviewed all of the 776 loans, her defect rate would be around one half of one percent,

 which by industry standards is extraordinarily low.

           Ms. Calderon fails to provide any details in the SAC or the Plaintiff’s Expert Disclosures

 regarding her loan review methodology. There is no evidence that she used HUD’s current

 Quality Assurance Defect Taxonomy (which post-dates the at-issue loans) or HUD’s previously

 recommended four types of ratings, which are as follows:

                   “Low Risk”, i.e., no problems or minor problems were identified
                   with loan servicing or origination;

                   “Acceptable Risk,” i.e., the issues identified were not material to
                   the “creditworthiness, collateral security or insurability of the
                   loan”;

                   “Moderate Risk,” i.e., a failure to address significant unresolved
                   questions or missing documentation has created moderate risk for
                   the mortgagee and the FHA; and

                   “Material Risk,” i.e. the issues identified were “material violations
                   of FHA or mortgagee requirements and represent an unacceptable
                   level of risk.”14

 Examples of “material risk” are violations that include a “significant miscalculation of the

 insurable mortgage amount or the applicant[’]s capacity to repay, failure to underwrite an

 assumption or protect abandoned property from damage, or fraud.”15 It is my opinion that none

 of the four loans Ms. Calderon uses as example loans fall into the category of “material risk,” as

 outlined in the HUD Handbook.

           Based on documents Ms. Calderon cites as missing from the loan file, I assume she failed

 to consider the case binders for her four example loans.




 14
      HUD Handbook 4060.1, REV-2, ch. 7-4.D.
 15
      Id.


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 VI.    MY LOAN REVIEW METHODOLOGY

        I personally reviewed the four example loans identified in the SAC. I considered the

 documents found in the loan files and case binders provided to me by counsel as well as all

 applicable HUD Handbooks, Mortgagee Letters, and public statements. I evaluated the loans

 using HUD’s four risk assessment categories outlined above in section V.

 VII.   RESULTS OF MY LOAN REVIEW

        A.      Loan 1 on a property in Lindale, TX – Per my review, this loan meets the

 eligibility criteria of the FHA program. I found no evidence that this loan contained material

 underwriting defects or was fraudulently approved by the underwriter at origination. The gift

 funds were properly documented, the non-purchasing spouse’s debts were considered, the proper

 debts were included in the DTI, sufficient assets for cash-to-close were properly verified,

 verification of the borrower’s previous employment was present in the case binder, and all

 verified data points matched the final DU findings in the case binder and there was no indication

 of fraud based on multiple DU submissions.

        B.      Loan 2 on a property in Florence, KY – Per my review, this loan meets the

 eligibility criteria of the FHA program. I found no evidence that this loan contained material

 underwriting defects or was fraudulently approved by the underwriter at origination. The

 required income documentation was in the case binder, sufficient assets for cash-to-close were

 properly verified, the gift funds were properly verified, the DTI was below the guideline

 maximum for manually underwritten loans, no verification of housing history was available

 since the borrower had been living rent-free, there is no payment shock limit on rent-free

 borrowers, no major/recent delinquent accounts were unexplained, and compensating factors

 were present to support the approval of this loan.




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            C.         Loan 3 on a property in Bonaire, GA – Per my review, this loan meets the

 eligibility criteria of the FHA program. I found no evidence that this loan contained material

 underwriting defects or was fraudulently approved by the underwriter at origination. The

 borrower’s income was properly documented to support the DTI used to qualify, no verification

 of housing history was available since the borrower had been living rent-free, there is no

 payment shock limit on rent-free borrowers, the borrower’s income at his previous job is not

 relevant since he is a salaried employee, the borrower did not misrepresent his credit card use,

 the borrower’s DTI did not require compensating factors, the amount of his down payment was

 acceptable for the FHA program, and the borrower’s credit score met the criteria of the FHA

 program.

            D.         Loan 4 on a property in Savannah, GA – Per my review, this loan meets the

 eligibility criteria of the FHA program. I found no evidence that this loan contained material

 underwriting defects or was fraudulently approved by the underwriter at origination. A prudent

 decision was made to grant the borrower a non-credit qualifying streamline refinance based on

 the date of her divorce being finalized and the fact that she had made at least seven mortgage

 payments on time on her own. Her assets meet the FHA guidelines and do not show

 nonsufficient funds, there are no missing tax returns or problems with inconsistent self-employed

 income because there was no income documentation required for the product chosen.

 VIII. MS. CALDERON’S ANALYSIS IS FLAWED AND UNRELIABLE

            A.         Ms. Calderon Does Not Consider Documents Present in the Loan Files and
                       Case Binders

            Regarding Loan 1, Ms. Calderon claims in the SAC that “[n]o gift letter was

 submitted.”16 However, the case binder contains two fully completed, signed, and dated gift


 16
      SAC ¶ 6(a)(i).


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 letters – one for the $1,000 earnest money and another for the additional $10,000 down payment

 (see Carrington_00805918, Carrington_00805920).          In addition to the gift letters, the case

 binders also contain a copy of the front and back of both cancelled checks (see

 Carrington_00805919, Carrington_00805921).

            Additionally, Ms. Calderon claims that “[t]he file contains no verification of previous

 employment, nor wages therefrom.”17 Yet, verifications of the borrower’s previous employment

 including The Work Number verification, IRS forms W-2, and tax return transcripts are in the

 case binder (see Carrington_00805975 – Carrington_00806001).

            Regarding Loan 2 in Florence, KY, Ms. Calderon writes in the SAC, “Although a letter

 from the father is referenced, no such letter was found in the file.”18 However, a letter from the

 borrower’s father is in the case binder (see Carrington_00820047). To supplement the gift letter,

 there is also a letter of explanation from the Loan Officer (see Carrington_00820049) and

 another from the borrower (see Carrington_00820051) along with a copy of the obituary of the

 borrower’s mother (see Carrington_00820048). Therefore, the circumstances of the borrower’s

 living situation are extremely well documented. Ms. Calderon also seems to misunderstand what

 the borrower meant by using “rent free” on her application. An experienced underwriter should

 know that “rent free” is the correct term for a borrower who has no rental contract, no mortgage

 payment in her name, and only helps a family member (with whom she lives) make rent or

 mortgage payments for which the borrower is not legally obligated.

            Also on Loan 2, Ms. Calderon on page 11 of the SAC alleges, “[t]here is no indication

 that 1040s were supplied.” However, the tax return transcripts for 2012 and 2013 are in the case

 binder (see Carrington_00820077 – Carrington_00820087).


 17
      SAC ¶ 6(a)(vi).
 18
      SAC ¶ 6(b)(xv).


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         B.      Ms. Calderon Mischaracterizes the Reasons for Multiple Automated
                 Underwriting System Submissions

         Ms. Calderon ignores or does not understand the reasons why a loan is often submitted to

 a system such as Desktop Underwriter (“DU”) or Technology Open to Approved Lenders

 (“TOTAL”) multiple times and believes that multiple submissions are evidence of fraud, which

 is not the case. For brokered loans, such as Loan 1, initial submissions are usually done by the

 Loan Officer who works for the broker, not Carrington. Ms. Calderon in the SAC claims that

 HUD guidelines prohibit multiple DU submissions, but I disagree with her interpretation of

 Mortgagee Letter 2005-15, which she claims prohibits willful manipulation of the application

 variables to obtain an accept/approve risk classification. The purpose of Mortgagee Letter 2005-

 15 is clearly stated: “…this Mortgagee Letter announces tolerance levels before rescoring is

 required and additional documentation relief for lenders using TOTAL.”19 The purpose of the

 letter is neither to set restrictions on the number of submissions nor require a reason for each

 submission. The Mortgagee Letter reads, “[I]t has become clear that minor changes to certain

 application variables, e.g., cash reserves after closing, income, and the total mortgage payment

 used to render the risk classification from TOTAL do not warrant the need for rescoring the

 mortgage….Therefore, this Mortgagee Letter announces tolerance levels before rescoring is

 required….”20 It does not, as Relator misleadingly suggests, prohibit the submission of multiple

 DU submissions. Nor does it state that updated DU submissions are prohibited before these

 “tolerance levels” are reached.

         Mortgagee Letter 2005-15 does state that submissions are “not to result in willfully

 manipulating these application variables into the TOTAL mortgage scorecard to obtain an


 19
    U.S. Dep’t of Hous. & Urban Dev., Mortgagee Letter 2005-15 on TOTAL Mortgage Scorecard Update: Tolerance
 Levels and Documentation Relief (Mar. 30, 2005)
 20
    Id.


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 accept/approve risk classification.”21 It does not, however, prohibit the submission of

 hypothetical data variables to understand which values would result in an accept/approve risk

 classification and neither this letter nor any directive from HUD prohibits a lender from sharing

 information about the automated approval process with a borrower, as Ms. Calderon claims is a

 fraudulent act.

            There is nothing in this mortgagee letter that corresponds to Relator’s specific allegations

 regarding the only exemplar loan (Loan 1) for which Relator alleges the DU submissions

 resulted in the improper decision of automated approval. On this loan, she alleges various debts

 were included or excluded on different submissions, but the topic of debts is not even covered in

 the mortgagee letter instructions she claims have been violated. Furthermore, this particular

 borrower’s credit situation was complex, with multiple accounts showing balances on the credit

 report that were later documented as having zero balances, which necessitates multiple DU

 submissions during the loan application and approval process.

            What Ms. Calderon characterizes as a “manipulation” of the TOTAL system is actually

 part of the normal update process as data points such as bank balances change during the

 processing of the loan. For example, Ms. Calderon on page 7 of the SAC complains that “on

 January 29, 2015, at 1:01 p.m., DU B-7 was submitted with the same credit entries as B-4, but

 the assets were changed to reflect a checking account of $11,328.69. The required funds to close

 were noted to be $10,410 and the available funds were now listed as $11,328.69.”22 The events

 Ms. Calderon are describing here are customary and acceptable steps in mortgage processing and

 underwriting as verifications are returned from third parties (in this instance, a bank) and are not

 indicators of fraud. In addition to the bank statements from USAA, the case binder contains a


 21
      Id.
 22
      SAC ¶ 6(a)(xiii).


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 Verification of Deposit (“VOD”) from USAA dated December 19, 2014 with a current balance

 of $11,328.69 (see Carrington_00805969). Since that amount exceeds the required cash-to-close

 amount and the large $10,000 deposit had been verified with a gift letter and cancelled check as

 required, the borrower’s assets meet the FHA guidelines in every way. Each data point on the

 final DU findings in the case binder for Loan 1 is fully supported by documentation in the loan

 file and case binder. Therefore, Mortgagee Letter 05-15 supports none of Ms. Calderon’s

 specific claims on any loan.

         C.       Ms. Calderon Misapplies or Misinterprets HUD Guidelines

         Ms. Calderon does not follow the directives in the HUD Handbook and Mortgagee

 Letters regarding debts and collections that she believes should have been paid off or included in

 the borrower’s debt-to-income ratio (“DTI”). For Loan 1, Ms. Calderon states that “DU requires

 that documentation be provided to support the omission.”23 However, that is not accurate when

 it is obvious on the face of the credit report why an account is not included. One item, the

 Nissan account, was a charge-off with a date of last activity over three years prior, and applicable

 guidelines do not require charge-offs to be paid off.24 Other items, such as Rickman & Rickman

 with a balance of $236 and Valarity, LLC with a balance of $144, that Ms. Calderon erroneously

 claims should have been paid off, were coded on the credit report as medical collections, which

 guidelines also allow to remain excluded from the debt ratio and unpaid.25 This loan file also

 contains evidence Ms. Calderon fails to consider showing that debts were either included or paid

 in full. There is a letter from the broker that meets the conditions of the approval by indicating




 23
    Id. at ¶ 6(a)(v).
 24
    Mortgagee Letter 2013-24 at p. 3 reads, “All medical collections and charge off accounts are excluded from this
 guidance and do not require resolution.” U.S. Dep’t of Hous. & Urban Dev., Mortgagee Letter 2013-24 on Handling
 of Collections and Disputed Accounts (Aug. 15, 2013).
 25
    Id.


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 that 5% of outstanding collection balances is being included in the DTI calculations26 and that

 per the included credit supplement, the Credit One Bank and Synchrony Bank/Wal-Mart

 accounts have been paid in full (see Carrington_00058478 – Carrington_00058488).

         Among other erroneous claims of fraud Ms. Calderon makes on Loan 3 in the SAC, she

 alleges on page 16, “Most importantly, the underwriter lists ‘a compensating factor’ of the

 borrower putting down a larger down payment (full 5%). Pursuant to HUD 4155.1, 4.F.3.b, an

 ‘increased compensating factor’ is to be used when a borrower makes a large down payment of

 10% or higher.”27 However, Ms. Calderon takes this guideline out of context. The very section

 she cites begins with, “The table below describes the compensating factors that may be used to

 justify approval of mortgage loans with ratios that exceed FHA benchmark guidelines.”28 The

 benchmark guideline being referred to is a DTI of 43% and the DTI for this loan was 37.59%. In

 fact, her citation is a subsection of the Qualifying Ratios section and is also preceded by the

 words, “A ratio exceeding 43% may be acceptable only if significant compensating factors, as

 discussed in HUD 4155.1 4.F.3, are documented and recorded on Form HUD-92900-LT, FHA

 Loan Underwriting and Transmittal Summary.”29 No compensating factors were required on this

 loan, so the underwriter was just making a note that the borrower put more than the minimum

 investment down on the property.

         For this same loan, Loan 3, another alleged fraud committed is that the borrower claimed

 to have never had a credit card. Ms. Calderon writes in the SAC at page 15, “Nevertheless, a

 credit card was included on his credit report.”30 However, the account in question is the entry for


 26
    Per Mortgagee Letter 2013-24 at p. 3, “If evidence of a payment arrangement is not available, the lender must
 calculate the monthly payment using 5% of the outstanding balance of each collection and include the monthly
 payment in the borrower’s debt-to-income ratio.” Id.
 27
    SAC ¶ 6(c)(xi).
 28
    HUD Handbook 4155.1.4.F.3.b.
 29
    Id. at 4.F.2.b.
 30
    SAC ¶ 6(c)(ix).


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 GECRB/Care Credit, which is not a traditional credit card, but rather a revolving account that

 finances health care costs. The Care Credit website indicates, “CareCredit is different from a

 regular credit card. Use it to pay for out-of-pocket expenses not covered by medical insurance,

 and special financing options are available that you may not be able to get with other cards.”31

 Therefore, I once again disagree with Ms. Calderon’s definition of “fraud.”

         D.       Ms. Calderon Creates Guidelines that Do Not Exist in the HUD Handbooks

         One guideline that Ms. Calderon creates is that borrowers are not allowed to transfer their

 own money from savings accounts to checking accounts to prevent overdrafts. For Loan 4,

 although there are no charges for nonsufficient funds on all of the seven months of bank

 statements in the loan file, and the checking account balance was never negative, Ms. Calderon

 writes in the SAC at page 18, “Further, there was evidence of a number of overdraft advances

 from several small savings accounts at Capital One to Borrower 4’s checking account.”32 In my

 twenty years of experience underwriting mortgage loans, I have never heard of a guideline that

 prevents the movement of money between a borrower’s own bank accounts. Additionally, on

 page 17 of the SAC, Ms. Calderon makes up a guideline that the borrower’s bank statement

 balances cannot decrease. She cites no HUD Handbooks for this requirement because no such

 guideline exists.

         Another guideline that Ms. Calderon completely falsifies is that payment shock—which

 involves how much a borrower’s new housing payment can increase over their prior housing

 payment—is not allowed on FHA loans. On page 12 of the SAC, she writes, “Borrower 2

 indicated in her application, and again in a letter of explanation, that she lived rent free with her

 father. HUD 4155.1, 4.C.2.b requires that the borrower’s 12 months rental history be verified,
 31
    What Makes CareCredit Different, CareCredit, https://www.carecredit.com/howcarecreditworks/prospective (last
 visited June 25, 2018).
 32
    SAC ¶ 6(d)(vi).



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 which would have revealed massive payment shock going from $0 to $770.67.”33 The loan file

 and case binder properly verify with letters from both the borrower and her father that she was

 living rent free.       Similarly, for Loan 3, although the borrower provided written letters of

 explanation indicating that he was living rent free, Ms. Calderon writes on page 14 of the SAC,

 “HUD 4155.1, 4.C.2.b requires that the borrower’s 12 months rental history be verified, which

 would have revealed massive payment shock in going from $0 to $817.57 in total monthly

 housing expense on his new mortgage….”34

             The FHA program not only allows first time homebuyers to purchase property through

 FHA loans, but loans for first time homebuyers are a stated objective of the program. Ms.

 Calderon cites no FHA guideline regarding payment shock for first time homebuyers because

 there is no such requirement. The program explicitly allows borrowers previously living rent-

 free to qualify for home purchases,35 and every loan of that type would fail Ms. Calderon’s test

 for “massive payment shock.” The two mortgage payment amounts she uses in her examples are

 both under $1,000 and seem reasonable to me for a first time homebuyer.

             It appears to me that not only is Ms. Calderon making up her own guidelines, but those

 fabricated guidelines may even be improperly discriminatory. For example, she writes the

 following in the SAC regarding the borrower on Loan 2: “Borrower 2 completed a Uniform

 Residential Loan Application wherein she stated she was unmarried with two children under the

 age of five….”36 The Fair Housing Act does not allow the fact that a borrower is unmarried or

 has children under the age of 18 to factor into the underwriting decision, so I do not understand

 33
      Id. ¶ 6(b)(xii).
 34
    Id. ¶ 6(c)(vii).
 35
    See, e.g., Eric McDowel & John Philips, FHA’s Office of Single Family Housing Training Module 4: Manual
 Underwriting of the Borrower, p. 36, https://www.hud.gov/sites/documents/FY16_SFHB_MOD4_UNDER.PDF
 (last visited June 25, 2018) (“Borrowers who are living rent-free must provide a letter from the property owner
 where they are residing confirming that the Borrower has been living rent-free and for how long.”).
 36
    SAC ¶ 6(b).


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 why Ms. Calderon included these facts in her criticism of Carrington’s decision to lend to this

 borrower.

           Regarding Loan 4, Ms. Calderon writes, “A cursory review of this applicant’s file reveals

 that she was not qualified to be a sole debtor on this property, and the closing of this loan

 removed the existing income stream of ex-husband, therefore leading to the obvious result of

 default of the mortgage.”37 There is no explanation for Ms. Calderon’s opinion, such as lack of

 sufficient income. She only claims that “…the file materials clearly indicate that Borrower 4 was

 independently an unacceptable credit risk and did not qualify for an FHA loan following her

 divorce.”38 She then makes up another guideline criterion, which does not exist for any self-

 employed borrower, but is certainly irrelevant on a non-credit qualifying streamline refinance

 when she goes on to state, “Specifically, the borrower was self-employed with an erratic stream

 of income.”39 In my experience in the industry, I have come across other underwriters who “do

 not like a loan” for reasons unjustified or discriminatory and look for minor reasons to reject the

 application. Ms. Calderon felt that “thousands” of loans Carrington was making when she was

 employed there should not have been made, and perhaps her personal feelings about lower

 income borrowers are part of her opinion. She describes Carrington making this loan, which

 fully meets the FHA guidelines as “push[ing] a debt-plagued low-income borrower through to

 close.”40

           E.         Ms. Calderon Fails to Understand the Benefits of FHA Streamline
                      Refinances

           One of the four examples chosen by Ms. Calderon as examples of the alleged fraud

 perpetrated on the government by Carrington, Loan 4, is a Streamline Refinance without credit

 37
    Id. ¶ 6(d)(vi).
 38
    Id. ¶ 6(d)(iv).
 39
    Id.
 40
    Id. ¶ 6(d)(x).



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 qualifying. 41 The loan was done for a woman who had been divorced for approximately one

 year and had provided proof that she had been making on-time mortgage payments42 for the

 previous six months. The borrower had a middle credit score of 744 with no late payments on

 any account ever. She worked as an Architectural Draftsperson per a verified letter from her

 accountant. Under the relevant guidelines, her ex-husband should have removed himself from

 the title to the property the couple owned jointly prior to their divorce (i.e., quit-claim off title)

 six months prior to the closing of the new loan. In this case, the ex-husband did not remove

 himself until approximately two months prior to the closing of the new loan. However, it is my

 opinion that this is not a significant defect and it did not impact the borrower’s ability to repay

 the loan. Since it was documented in the loan file that the borrower had been making on-time

 payments to Carrington on an existing FHA loan for at least seven months, there was no

 increased risk to Carrington or to HUD by allowing her to refinance without credit qualification.

 In fact, since the new loan changed the interest rate from 6% to 4.25% and lowered the payment,

 this streamline refinance actually reduced the default risk to both Carrington and HUD and was a

 common sense loan approve as a Streamline Refinance.

         F.       Ms. Calderon Fails to Consider Compensating Factors

         For manually approved loans, an FHA lender should consider compensating factors, as

 Ms. Calderon agrees on page 26 of her SAC. However, for Loan 2, she appears to completely

 disregard the compensating factors of (1) accumulated savings, (2) substantial cash reserves, (3)

 41
    “Streamline refinance refers to the refinance of an existing FHA-insured mortgage requiring limited borrower
 credit documentation and underwriting. Streamline refinances are available under credit qualifying and non-credit
 qualifying           options.”                      Streamline           Your            FHA             Mortgage,
 https://www.hud.gov/program_offices/housing/sfh/ins/streamline (last visited June 25, 2018).
 42
    Ms. Calderon claims that Borrower 4’s December mortgage payment was made “more than 30 days after its due
 date.” SAC ¶ 6(d)(vi). However, there is a letter of explanation in the loan file explaining that the payment was
 made online on December 31, 2014 and simply failed to clear the borrower’s bank until January 2, 2015, which
 makes sense since January 1 is a bank holiday. There is also a mortgage history in the loan file that does not show
 the account ever being late, and Carrington employees would have had internal access to their own system to verify
 that the payment was indeed submitted online on December 31.


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 previous credit history/low DTI, and (4) compensation or income not reflected in effective

 income that are described on the Carrington Mortgage Compensating Factors Checklist when

 coming to her decision that Loan 2 should not have been made (see Carrington_00820050). In

 my opinion, underwriting requires viewing a loan as a whole and evaluating the overall risk

 profile of each borrower and situation, which includes the consideration of compensating factors.

 Furthermore, the HUD handbooks outline specific compensating factors to be considered.43

         I saw no indication that Ms. Calderon considered compensating factors as part of her loan

 file assessment. Rather, her review of the four example loans as described in the SAC focuses

 on de minimis or immaterial errors as reasons the loans were not eligible for FHA insurance,

 with no assessment of overall risk or general adherence to the FHA credit guidelines, which

 conflicts with the nature and purpose of the FHA program, and does not comport with my

 industry experience with the type of issues HUD considers to be material risk.

         G.      Ms. Calderon Creates Her Own Credit Score Criteria for FHA Loans

         The actual minimum credit score criteria for the FHA program is 500 with 10% down

 and 580 with 3.5% down. Ms. Calderon appears to disagree with HUD’s policy on credit scores

 and perhaps its mission for the FHA program as a whole. She writes on page 4 of the SAC,

 “Borrower had a poor credit score of 618,” even though the borrower’s score exceeded the

 program requirement by 38 points.44 Regarding Loan 3, she writes on page 13 of the SAC,

 “Borrower 3’s credit score was 582, very poor” and again on page 15 emphasizes the score by

 writing, “The approval of this loan based on false information is fraud and is not supported by

 the documentation in the file. Borrower 3’s credit score was extremely low, at 582.”45 Ms.

 Calderon was not employed by HUD (or even at Carrington) as a policy director, so while she

 43
    HUD Handbook 4155.1, Rev-4 Chg-1, at 2-30.
 44
    SAC ¶ 6(a)(ii).
 45
    Id. ¶¶ 6(c)(ii), (c)(xi).


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 may not agree with the 580 minimum credit score set by the FHA program for these loans, her

 opinion does not merit the rejection of a borrower’s application.

        H.      Ms. Calderon Inappropriately Treats Every Discrepancy Within a Loan File
                as an Indicator of Fraud

        In my opinion, one of the most important roles an underwriter plays in the mortgage

 industry is as a frontline defense against fraud. Mortgage fraud is illegal. However, Ms.

 Calderon’s loan-level findings reveal that she treats nearly every instance of conflicting

 information – even very minor ones – as lender fraud, but I disagree with her application of

 HUD guidance on the warning signs of fraud. Nowhere in the HUD Handbooks are there

 examples of warning signs of fraud similar to the ones Ms. Calderon identifies. It is wrong to

 presume and conclude, as Mrs. Calderon does, that every discrepancy within a loan file is an

 indicator of fraud.

 IX.    Causation or Reason for Default

        A.      My Experience in the Area of Mortgage Servicing

        During my tenure as Senior Vice President of SMCM, I was involved in the servicing

 oversight of the portfolio of loans the company owned. Since I was the head of the Due

 Diligence department, I personally evaluated nonperforming loans in an attempt to identify any

 connection between the underwriting my team had done on the loan and the reason the borrowers

 stopped making timely monthly payments. I worked closely with our sub-servicer and read

 servicing notes and reviewed correspondence from the borrowers in an attempt to mitigate losses

 and when appropriate, offer loss mitigation solutions to the borrowers such as forbearance plans,

 loan modifications, and short sales. On some occasions, I even spoke directly to borrowers who

 sought out the owner of their loan and contacted SMCM.




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        In my experience personally handling hundreds of such cases, I frequently learned that

 defaulting borrowers had been affected by family illnesses and injuries, incarceration, natural

 disasters, reduction of hours at work, or job layoffs. I approved short sales for desperate sellers at

 prices significantly less than the home was worth at origination due to falling property values.

 While I sought to try to incorporate any lessons learned into my department’s underwriting

 processes, I concluded that the vast majority of defaults I was handling were more closely tied to

 family and personal problems, dropping housing prices, or regional economic conditions that

 were not present at the time of origination.

        B.      Common Reasons for Default

        In my experience, mortgage loans can default for a number of reasons, many of which

 are outside of the control of both the borrower and the lender. For example, unexpected

 events can occur in borrowers’ lives that render them unable to make timely mortgage

 payments. These are referred to in the mortgage industry as “life events.” Life events include

 death, illness, pregnancy, divorce, natural disasters not covered by insurance (for example a

 flood in a minimal flood hazard zone), job loss, or job transfer to a different location.

        Similarly, changes in economic conditions can cause borrowers to default on their

 mortgage loans for reasons that could not have been anticipated at the time of loan origination.

 Changes in the economy can negatively and unexpectedly impact a borrower’s income – for

 example, as a result of employment layoffs or reduced hours of employment, or because the

 borrower’s investments decrease in value. Economic shifts also can cause house prices to

 decline. When housing prices decline, some borrowers will find that their unpaid mortgage

 balances exceed the value of their home and, if it becomes necessary to sell their home, those

 borrowers may choose to strategically default rather than to sell at a loss.




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        Finally, borrowers can default on loans because of other financial strain, including

 excessive debt obligations or reductions in income that are unconnected to economic changes,

 such as a reduction in overtime pay, a layoff related to performance issues, or an unexpected

 need to purchase a new vehicle. While in some cases there may be an indication, or at least a

 suggestion, of this financial strain in the borrower’s credit or income/employment history, in

 many instances, these changes to the borrower’s financial condition occur after the loan has

 closed and could not be foreseen at the time of underwriting.

        C.      Relationship Between Underwriting Defects and Default

        It is my opinion that when a loan defaults after a life event, that loan default usually

 cannot be attributed to any underwriting defects in the file. This is based on my experience and

 knowledge of the underwriting process at a loan’s origination coupled with my servicing

 oversight experience. The purpose of underwriting is to determine the borrower’s ability and

 willingness to repay the loan and to determine if the property is sufficient as collateral. Even if

 the loan was perfectly underwritten at origination, no underwriter could or is expected to have

 predicted the death or serious illness of the borrower or that the borrower would become

 divorced or separated from his or her spouse. Likewise, even where a borrower has a stable

 and verified employment history, that does not guarantee against a post-closing adverse

 employment event such as a layoff or transfer to another location. In these situations, even if an

 error was made in underwriting (for example, income or debts were miscalculated), it is the

 unexpected life event that ultimately causes the loan to default.

        I understand that HUD has also expressed the view that life event defaults bear no

 relation to the original underwriting of the loan. I have reviewed a HUD-OIG audit report dated

 July 11, 2006 and titled “Significant Weaknesses in HUD’s Oversight of Single Family

 Mortgage Insurance Claims Are Costly,” which includes a response by HUD to OIG’s draft audit


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 findings.46 In that response, HUD stated that, for 6 out of 11 loans where HUD-OIG had

 identified material underwriting deficiencies, “the default was clearly due to events unrelated to

 deficiencies in underwriting (e.g., divorce, death of a family member, loss of income).”47

         Based on my experience and other information referenced below, it is also my opinion

 that, even absent a life event of the type of I have just described, it cannot be assumed that loan

 defaults are related to any defects in the origination of the loan and could have been foreseen at

 the time of underwriting. Rather, the presence of any such connection is highly dependent on

 other factors including the length of time that the loan performed before defaulting and the type

 of underwriting error.

         To be clear, underwriting defects cannot actually cause a loan to default, but rather

 prudent underwriting can prevent some riskier loans from being made in the first place (through

 the issuance of loan denials). Borrowers are generally unaware of whether their own loan

 technically met the applicable program guidelines, and in my experience, they do not stop

 making their monthly mortgage payments due to any type of procedural or documentation error

 made by the underwriter at the time of origination. In fact, some very poorly underwritten loans

 can and do perform perfectly for the entire life of the loan.

         As a general matter, I have found in my experience that underwriting defects are

 frequently unrelated to whether or not a loan will ultimately perform.48 I was not surprised to

 discover that several HUD documents support this view. For example, a Notification of Findings

 and Recommendations from an audit of FHA in September 2009 states, “FHA has also found a



 46
    US-HUD-OIG-01564334-431, OIG Audit Report No. 2006-SE-0001, Significant Weaknesses in HUD’s Oversight
 of Single Family Mortgage Insurance Claims Are Costly (July 11, 2006) (hereinafter “OIG Audit Report No. 2006-
 SE-0001”).
 47
    OIG Audit Report No. 2006-SE-0001, at 17.
 48
    And immaterial or technical underwriting defects are almost never related to whether or not a loan will ultimately
 perform.


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 low correlation between high underwriting risk factors and early default rates. This indicates

 that underwriting deficiencies may not have a significant impact on overall claim rates.”49

 Similarly, a study performed by HUD’s Office of Evaluation in 2006 relating to PETRs

 concluded “that PETR Unacceptable ratings do not provide a good early warning signal

 regarding a mortgagee’s default and claim performance.”50 And HUD’s response to the 2006

 OIG audit referenced above stated that “it is not appropriate to unilaterally conclude that a

 missing document or poor underwriting increased the loan risk and was ultimately the root cause

 of default and a claim payment” and that there was “evidence that there is no absolute link

 between errors in origination and default.”51 Moreover, HUD’s own statements support my view

 that the potential for any relationship between underwriting defects and loan defaults becomes

 increasingly remote the longer the loan performs.52 In its OIG audit response, HUD stated that

 “for 9 of the 11 loans [where material deficiencies had been identified], at least 12 monthly

 mortgage payments were made, reducing the likelihood that underwriting errors caused the

 loans’ default . . . .”53

         In my experience, it is an accepted industry standard that any default after a loan has

 performed for 36 months is unrelated to underwriting defects. When buying and selling loans in

 the secondary market, the amount of due diligence on the underwriting done at origination is

 drastically reduced on loans that have performed for 36 months or more because it is assumed

 that there is no longer a relationship between origination underwriting defects and performance.

 On the other hand, the industry often assumes that “early payment defaults” or “EPDs” –

 49
     US-HUD-OIG-02162394-400, Notification of Findings and Recommendations (NFR) – Federal Housing
 Administration (FHA) Financial Statement Audit for Fiscal Year Ended September 30, 2009, at 2.
 50
    US-HUD-00775843-45, Correlation of PETR Ratings with Default and Claim Rates (Revised September 2006),
 at 3. The study, at page 1, explained that “[a] rating of Unacceptable means that the mortgage seriously violates
 FHA requirements and poses a significant level of risk to the Department.”
 51
    OIG Audit Report No. 2006-SE-0001, at 16-17.
 52
    When I reference a loan’s “performance,” I am referring to the borrower making on-time monthly payments.
 53
    OIG Audit Report No. 2006-SE-0001, at 17.


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 generally, loans that default within the first three or six months of performance – may be

 associated with underwriting defects. I also agree with HUD’s publicly stated 2006 audit

 response (cited above) that if a loan performed for 12 months before defaulting, there is little

 likelihood that the default is related to the underwriting of that loan.

        Finally, regardless of the strength of the relationship between underwriting defects and

 default, only certain types of underwriting errors could even theoretically affect the risk that a

 loan would default. In my experience, the most common aspects of a loan that, when improperly

 reviewed by the underwriter, could relate to poor performance are: significant miscalculations of

 debts and/or income, failure to notice recent negative trends in the borrower’s credit history,

 failure to adequately source down payment and reserve funds when required by guidelines,

 failure to detect borrower fraud when evident, and lack of prudent evaluation of the appraisal to

 ensure the property value is supported. In my opinion, Ms. Calderon has not proven that any of

 these types of mistakes were made on the four loans she examined in detail, or that any of the

 four loans defaulted for a reason related to underwriting.




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                                                 APPENDIX A


 Kori Keith
 Principal Consultant                                                          KKeith@LakewoodMtgAdv.com

                              Kori Keith, founder of Lakewood Mortgage Advisors, has experience in almost
                              every area of residential mortgage lending including origination, secondary market
                              trading, and servicing. Lakewood Mortgage Advisors performs loan file reviews as
                              a loan sale advisor and as a litigation support firm. Kori has served as a consultant
                              or expert witness in legal cases related to residential mortgage backed securities
                              (RMBS), repurchase demands, lender bankruptcy, and alleged fraud. She advises
                              clients about various aspects of mortgage lending with specific expertise in
                              guideline matching and interpretation, standard underwriting practices, and
                              regulatory compliance. Kori has trained and managed groups of over a hundred
                              underwriters in formal settings, including for litigation. She has been deposed as a
                              defense expert witness in the areas of underwriting, quality control, and default
                              causation.

                              Kori has gained extensive knowledge of underwriting guidelines through
7220 West Jefferson Avenue    continuous examination of legacy and newly originated mortgage loans from
                  Suite 404   hundreds of lending institutions over nineteen years. She has also performed
 Lakewood, Colorado 80235     servicing management, loss mitigation, and servicing oversight for loans going
                              through the bankruptcy and foreclosure processes. She has been responsible for
      Office: 303-600-8353    both initiating and defending against repurchase demands based on alleged
        Cell: 303-667-8531    violations of representations and warranties in contracts and/or seller guides. She
                              has worked with both buyers and sellers of loan pools comparing guideline
www.LakewoodMtgAdv.com        overlays across lenders and the Agencies. Kori has created new company policies
                              and procedures for due diligence, fraud detection, and compliance testing.

                              Earlier in her career, Kori founded a mortgage origination company where she
                              oversaw the marketing, origination, processing, underwriting, and closing of
                              residential mortgage loans. That company also performed contract processing and
                              underwriting for third party originators. Kori has experience originating and/or
                              underwriting a wide variety of loan types including Conventional, FHA, VA, Alt-A,
                              Subprime, Jumbo, Home Equity Lines of Credit, and Construction loans. Prior to
                              entering the mortgage industry, Kori was employed as a certified secondary
                              English teacher in the public schools.

                              PRIOR MORTGAGE INDUSTRY EXPERIENCE
                              Steel Mountain Capital Management, LLC (2007-2014) Senior Vice President
                              Mortgage Lenders Network USA, Inc. (2005-2007) Business Development Mgr.
                              Novastar Financial, Inc. (2004-2005) Senior Account Executive
                              Madison Mortgage Services, LLC (2002-2004) Mortgage Broker/Owner
                              US Bank Home Mortgage (2001-2002) Senior Loan Officer
                              Express Financial, a Division of GMAC (2000-2001) Senior Loan Officer
                              Emmco, The Mortgage Service Station, Inc. (1999-2000) Underwriter
                              First South Mortgage (1998-1999) Loan Officer

                              EDUCATION
                              Various formal courses in mortgage lending including the NMLS approved SAFE Act
                              pre-licensure class for Mortgage Loan Originators in Sept. of 2014.
                              Bachelor of Science, University of Arkansas, Fayetteville, 1993
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                                          Appendix B

                                   Documents Relied Upon

 Court Filings
    • Second Amended Complaint, United States ex rel. Michelle Calderon, No. 16-cv-00920-
       RLY (S.D. Ind. Jan. 31, 2018), ECF No. 79.

 Produced Documents
    • Carrington_00058478 to Carrington_00058488.
    • Carrington_00805797 to Carrington_00806095.
    • Carrington_00819926 to Carrington_00820093.
    • Carrington_00861188 to Carrington_00861376.
    • Carrington_00811631 to Carrington_00811719.

 Public Documents
    • The Proposed HUD Budget for FY 2004 Before the S. Comm on Banking, Hous., &
        Urban Affairs, 108th Cong. 8 (2003) (statement of Mel Martinez, Sec’y, United States
        Dep’t of Hous. & Urban Dev.).
    • 2013 U.S. Dep’t of Hous. & Urban Dev. Ann. Rep. to Cong. Fiscal Year 2013 Fin. Status
        Fed. Hous. Admin. Mutual Mortgage Ins. Fund.
    • U.S. Dep’t of Hous. & Urban Dev., Strategic Plan 2014-2018 (2014).
    • U.S. Dep’t of Hous. & Urban Dev., Lender Insurance Guide for Mortgagee and HUD
        Staff (2013).
    • U.S. Dep’t of Hous. & Urban Dev., Mortgagee Letter 2005-15 on TOTAL Mortgage
        Scorecard Update: Tolerance Levels and Documentation Relief (Mar. 30, 2005).
    • U.S. Dep’t of Hous. & Urban Dev., Mortgagee Letter 2013-24 on Handling of
        Collections and Disputed Accounts (Aug. 15, 2013).
    • Eric McDowel & John Philips, FHA’s Office of Single Family Housing Training Module
        4: Manual Underwriting of the Borrower,
        https://www.hud.gov/sites/documents/FY16_SFHB_MOD4_UNDER.PDF (last visited
        June 25, 2018).
    • Streamline Your FHA Mortgage,
        https://www.hud.gov/program_offices/housing/sfh/ins/streamline (last visited June 25,
        2018).
    • US-HUD-OIG-01564334-431, OIG Audit Report No. 2006-SE-0001, Significant
        Weaknesses in HUD’s Oversight of Single Family Mortgage Insurance Claims Are
        Costly (July 11, 2006).
    • US-HUD-OIG-02162394-400, Notification of Findings and Recommendations (NFR) –
        Federal Housing Administration (FHA) Financial Statement Audit for Fiscal Year Ended
        September 30, 2009.
    • US-HUD-00775843-45, Correlation of PETR Ratings with Default and Claim Rates
        (Revised September 2006).
    • What Makes CareCredit Different, CareCredit,
        https://www.carecredit.com/howcarecreditworks/prospective (last visited June 25, 2018).

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    •   HUD Handbook 4000.1.
    •   HUD Handbook 4000.4.
    •   HUD Handbook 4060.1.
    •   HUD Handbook 4155.1.




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